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MANAGEMENT FUND ADVISORS, L.P.

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re                                            §
                                                  §
                                                                   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.,                                            §
                                                             Case No. 19-34054-sgj11
                                                  §
          Debtor.                                 §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.,                                            §
                                                  §
          Plaintiff,                              §
                                                  §
                                                               Adv. No. 21-03004
 v.                                               §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT                      §
 FUND ADVISORS, L.P.                              §
                                                  §
          Defendant.                              §

                        DEFENDANT’S REPLY IN SUPPORT OF
                       MOTION TO WITHDRAW THE REFERENCE

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

         COMES NOW Highland Capital Management Fund Advisors, L.P., the defendant (the

“Defendant”) in the above styled and numbered adversary proceeding (the “Adversary

Proceeding”), and files this its Reply in support of its Defendant’s Motion to Withdraw the

Reference (the “Motion”), respectfully stating as follows:


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                                        I.      SUMMARY

       1.      This Adversary Proceeding is as archetypical a state law, jury right claim as one

can get. Rather than concede this obvious fact and address the jurisdictional issues in a scholarly

manner, Highland Capital Management, L.P. (the “Debtor”), in its Plaintiff’s Opposition to

Defendant’s Motion to Withdraw the Reference (the “Response”), again pulls the “Dondero” card

in the belief that, if the Debtor simply states the name “Dondero” often enough—thirty-eight (38)

times in its Response for a case where Mr. Dondero is not even a party!—somehow our

Constitution, Supreme Court precedent, and this Court’s own precedent go away. This Court

should see through the Debtor’s histrionics and focus on the cold and well-settled constitutional

and jurisdictional principles involved. The reason why cases like Northern Pipeline and Stern v.

Marshall exist is because aggressive litigants wished to short-circuit the process and pushed the

boundaries of Article I jurisdiction past any plausible point, and bankruptcy judges let them.

Reading section 542(b) as the Debtor would have the Court read it is sure to create another multi-

year saga culminating in another Stern v. Marshall situation, which is in no one’s interests.

                  II.     SECTION 542(B) OF THE BANKRUPTCY CODE

       2.      The Debtor has sued the Defendant to collect on a disputed promissory note. Yet

the Debtor argues that section 542(b) of the Bankruptcy Code, providing for the turnover of debt

payable to a debtor, permits it to effectively obviate the promissory note action and move straight

to collection. The Debtor’s argument is little different from a plaintiff arguing that, as the federal

rules provide that a federal court enforces a judgment under federal law, even though the

underlying claim is a state contract claim, federal jurisdiction exists without reference to diversity

and the federal court can liquidate the disputed claim in the context of postjudgment collection.

This is an absurd argument on its face: a plaintiff must prevail on its claim before it can move to

collection, and collection does not itself confer subject matter jurisdiction.

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       3.      Section 542(b) of the Bankruptcy Code provides that: “an entity that owes a debt

that is property of the estate and that is matured, payable on demand, or payable on order, shall

pay such debt to, or on the order of, the trustee, except to the extent that such debt may be offset.”

11 U.S.C. § 542(b). The logical, simple, and necessary import of this statute is simple: a debt

payable to a debtor shall, postpetition, now be payable to the trustee (who may be the debtor). As

any debtor’s or trustee’s attorney knows, frequently an entity owing a debt to a debtor will use the

fact of the bankruptcy, and an alleged resulting confusion regarding who the debt should be paid

to, to simply stall the payment. Or, a secured creditor with liens against instruments or receivables

may have sent U.C.C. instructions to an account debtor to pay the account over to the secured

creditor, instead of the debtor. Section 542(b) simply removes these uncertainties and tactics.

Here, the Defendant does not dispute that, whatever amounts may be owing on the underlying

alleged debt, they are owed to the Debtor. Section 542(b) has no application.

       4.      Yet the Debtor would have the Court read section 542(b) as creating a new federal

cause of action, and a mandatory injunctive one at that, with no defenses other than setoff, and

with no trial. Any such reading would severely violate the Constitution and Due Process and

would render the statute unenforceable and void, as aptly explained by one opinion:

       to extend the proposition urged by the Debtor would mean that a Debtor may
       collect, by way of mandatory injunction, disputed claims to monies, claims based
       strictly on state law which are unliquidated and contingent. Certainly such
       procedure could not be sanctioned outside bankruptcy and there is no just reason
       why it should be sanctioned just because the entity seeking to collect disputed funds
       happens to be a Debtor under the Bankruptcy Code. To approve the proposition
       urged by the Debtor would be without a doubt, a gross violation of the most basic
       concepts of due process to which every Defendant is entitled, which involves at
       least the right to enjoy all the procedural safeguards otherwise available to all
       litigants in civil litigation.

In re Chick Smith Ford Inc., 46 B.R. 515, 518 (Bankr. M.D. Fla. 1985)




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         5.       This is why this Court’s precedent—which the Debtor refers to as “three older

cases”1—clearly provides that section 542(b) cannot be used to short-circuit the process and

convert a state law claim into a federal claim. And, the Debtor ignores the District Court’s opinion

affirming the Satelco holding, wherein the District Court agreed that “collection suits by a debtor

in bankruptcy against non-creditor defendants -- are not ‘core’ proceedings.”2 M&E Contractors

v. Kugler-Morris Gen. Contractors, 67 B.R. 260, 262 (N.D. Tex. 1986). Thus, it is not just “three

older cases” that dictate the result, but also an important opinion from the District Court. And,

entirely missing from the Debtor’s analysis is the Supreme Court’s Northern Pipeline case, which

forms the constitutional basis for the Bankruptcy Court’s jurisdiction in the first place and which

also involved a debtor suing a non-debtor on a contract claim, and which led to the Supreme Court

substantially invalidating the jurisdictional provisions of the 1978 Code. See N. Pipeline Constr.

Co. v. Marathon Pipe Line Co., 458 U.S. 50 (1982). That opinion is even “older” than the “three

older cases” derided by the Debtor, yet it remains controlling law.

         6.       While the Debtor cites cases from other jurisdictions for the proposition that a

turnover action can be used to adjudicate disputed debt, those cases are in the minority and are

wrongly decided. Rather, the large majority of cases agree with the simple proposition that section

542(b) does not apply to disputed debt: “[i]t is settled law that the debtor cannot use the turnover

provisions to liquidate contract disputes.” United States v. Inslaw Inc., 932 F.2d 1467, 1472 (D.C.

Cir. 1991). Accord In re Falzerano, 686 F.3d 885, 887 (8th Cir. 2012) (“[t]urnover proceedings



         1
                    Response at ¶ 25. The Debtor incorrectly cites the In re Mirant case as a case from 1986. Response
at ¶ 25. It is not. It is in fact a case from 2004. See In re Mirant Corp., 316 B.R. 234 (Bankr. N.D. Tex. 2004). But,
even if these cases are “older cases,” that is precisely the point, for it is stare decisis in operation and working.
         2
                  Technically, the matter was before the District Court on the motions to withdraw reference in
Satelco. The District Court denied the motion to withdraw reference, as no jury right had been invoked, leaving it to
the Bankruptcy Court to submit a report and recommendation subject to de novo review instead. Had a jury demand
been made, as in the other cases before the District Court in its combined opinion, withdrawal of the reference would
have been mandatory. M&E Contractors, 67 B.R. at 269.

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are not to be used to liquidate disputed contract claims”); In re Charter Co., 913 F.2d 1575, 1579

(11th Cir. 1990) (“Turnover proceedings are not to be used to liquidate disputed contract claims”);

Trefny v. Bear Sterns Sec. Corp., 243 B.R. 300, 320 (S.D. Tex. 1999) (“turnover proceedings under

section 542 are not to be used to liquidate disputed contract claims”); In re M.S.V. Inc., 97 B.R.

721, 729 (D. Mass. 1989) (“[t]here is no room within a motion for turnover for the award of

monetary damages”); In re Conex Holdings, LLC, 518 B.R. 792, 803 n. 58 (Bankr. D. Del. 2014)

(“the Trustee cannot use the turnover provisions to liquidate contract disputes”); In re VP Energy

Inc., 300 B.R. 621, 625 (Bankr. W.D. Pa. 2003) (“turnover proceedings [brought under § 542(b)]

are not to be used to liquidate disputed contract claims”); In re CIS Corp., 172 B.R. 748, 759

(Bankr. S.D.N.Y. 1994) (“Numerous courts have therefore held that an action is non-core when

property which is the subject of a significant dispute between the parties is sought to be recovered

through a turnover action”).

       7.      Indeed, as one court aptly commented, reading section 542 too broadly means that

literally any claim brought by a debtor could be styled as a turnover action under one of the

provisions of section 542 of the Bankruptcy Code:

       This argument however is specious in that such a construction would in effect
       remove any distinction between core and non-core proceedings for purposes of
       bankruptcy court jurisdiction. Any cause of action demanding money damages or
       payment of sums due under contract could be construed to be a turnover in that
       sense.

In re Shaford Cos., 52 B.R. 832, 834 (Bankr. D.N.H. 1985).

       8.      Thus, while a turnover action may be statutorily core, to read it as the Debtor would

have the Court read it—to provide the mechanism for the liquidation of the disputed debt—would

render the action constitutionally non-core. See Stern v. Marshall, 564 U.S. 462, 495 (2011). And,

as the Supreme Court has held throughout, Congress cannot strip a litigant of her Article III and

jury rights by simply re-labeling something as a federal claim:

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       Congress simply reclassified a preexisting, common-law cause of action . . . This
       purely taxonomic change cannot alter our Seventh Amendment analysis. Congress
       cannot eliminate a party’s Seventh Amendment right to a jury trial merely by
       relabeling the cause of action to which it attaches and placing exclusive jurisdiction
       in an administrative agency or a specialized court of equity.

Granfinanciera, Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 60-61 (1989).

       9.      Put simply, before there can be any consideration of turnover or collection, the

Debtor must first prove its breach of contract claim. That claim is clearly non-core: a claim that

“simply attempts to augment the bankruptcy estate . . . must be decided by an Article III court.

Stern, 564 U.S. at 495. And, as jury rights undisputedly attach, the Bankruptcy Court cannot try

the claim and the reference must be withdrawn “[r]egardless of whether one characterizes a

proceeding as core or noncore.” In re Clay, 35 F.3d 190, 194 (5th Cir. 1994) (granting writ of

mandamus and “instruct[ing] the district court to withdraw the reference to the bankruptcy court

and honor the Clays’ demand for trial by jury before an appropriate United States District Court”).

       10.     The latter point concerning jury rights, again ignored by the Debtor, controls the

question independent of anything having to do with section 542(b) or bankruptcy jurisdiction. As

the Supreme Court has made clear, “[i]t would make no difference if the equitable cause clearly

outweighed the legal . . . As long as any legal cause is involved the jury rights it creates control.”

Dairy Queen v. Wood, 369 U.S. 469, 473 n. 8 (1962) (emphasis added). There is no question that

jury rights attach to the promissory note claim and there can therefore be no question that those

jury right control and that they mandate a withdrawal of the reference.

       11.     The Debtor would also have the Court believe that, because Mr. Dondero—again,

not even a party—is affiliated with the Defendant, and because Mr. Dondero is allegedly vexatious,

and Mr. Dondero allegedly wants to drive costs up, and because Mr. Dondero is allegedly forum

shopping—or any of the other and sundry allegations the Debtor makes every time if files a

pleading recently—somehow confers jurisdiction where there is none. But who is it that is forum

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shopping? The Debtor clearly believes that the Bankruptcy Court will be a more favorable venue

for it: “the Bankruptcy Court is extensively familiar with Mr. Dondero and the Dondero Entities,

the ways in which his companies and affiliates were run and interrelated, and their purported

claims.” Response at ¶ 29. The question of forum shopping—to the extent that it is even

relevant—cuts both ways.3

         12.      But that question is not relevant when principles of the Constitution and of subject

matter jurisdiction are involved. A litigant’s motivation for lawfully not consenting to bankruptcy

jurisdiction and for lawfully not waiving jury rights should never be questioned by a court. It

should never be the basis of a jurisdictional decision. It should never be held against a litigant.

The alternative is judicial coercion or the appearance of judicial coercion, and that must never be

permitted in our system. The Defendant did not file this bankruptcy case, the Defendant did not

author the Bankruptcy Code, and the Defendant did not invent its jury rights. The Debtor’s

allegations of forum shopping and manipulation of the system, because the Defendant refuses to

waive its solemn right to a trial by jury in an Article III court, should bear no portion of the Court’s

deliberation and its adjudication of the Motion.




         3
                   The Debtor takes many liberties with its allegations in its Response. The Defendant does not wish
to clutter the Court by responding to these irrelevancies. One such allegation, however, merits comment:
         The Court docket in the Debtor’s chapter 11 case reflects a number of substantive pleadings and
         other documents filed by the Defendant (including a motion to file a competing plan), as well as
         approximately 61 documents filed by Mr. Dondero and approximately 50 documents filed by
         HCMFA (as defined herein), another Dondero Entity.
Response at p. 1 n.3.
         This is not true and is an intentionally misleading statement made by the Debtor to give the false impression
that NexPoint and HCMFA have repeatedly sought relief from the Bankruptcy Court only to now seek to escape the
Bankruptcy Court’s jurisdiction. Almost all filings made by NexPoint and HCMFA have been defensive in nature
(such as objecting to the Debtor’s plan, which sought to permanently enjoin them) or procedural documents (such as
a sealing motion and witness exhibit lists), all necessitated by the Debtor’s actions, such as the Debtor having filed
four (4) complaints against them, and mostly involving routine bankruptcy proceedings over which the Bankruptcy
Court had core jurisdiction.

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                                      III.    CONCLUSION

       13.     The withdrawal of the reference is mandated because the Defendant has jury rights

and because the promissory note claim is not core. Whatever else may be said about the section

542(b) claim, that claim has no application and it does not confer federal jurisdiction to liquidate

a disputed debt claim, or otherwise convert the most basis state law claim into a claim arising

exclusively under the Bankruptcy Code.          Because the Bankruptcy Court cannot decide a

dispositive motion, and because most if not all pretrial matters will govern the jury trial that only

the District Court can conduct, the reference should be withdrawn immediately for judicial

efficiency and to ensure that the District Court will make all pretrial decisions governing its trial.

       RESPECTFULLY SUBMITTED this 18th day of May, 2021.

                                               MUNSCH HARDT KOPF & HARR, P.C.

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 18th day of May, 2021, true and correct
copies of this document were electronically served by the Court’s ECF system on parties entitled
to notice thereof, including on the Debtor through its counsel of record.

                                             /s/ Davor Rukavina
                                             Davor Rukavina




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